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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0474V
                                        UNPUBLISHED


    ADRIANNE HICK,                                          Chief Special Master Corcoran

                        Petitioner,
    v.                                                      Filed: May 23, 2022

    SECRETARY OF HEALTH AND                                 Special Processing Unit (SPU);
    HUMAN SERVICES,                                         Findings of Fact; Site; Onset;
                                                            Influenza (Flu); Shoulder Injury
                       Respondent.                          Related to Vaccine Administration
                                                            (SIRVA); Table Claim Dismissal.

Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Zoe Wade, U.S. Department of Justice, Washington, DC, for Respondent.

    FINDINGS OF FACT AND CONCLUSIONS OF LAW DISMISSING TABLE CLAIM 1

       On April 21, 2020, Adrianne Hick filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination she received on
October 18, 2018. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters (the “SPU”).



1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       For the reasons discussed below, I find that although there is preponderant
evidence that Petitioner’s flu vaccine was administered to her left arm, Petitioner’s Table
SIRVA claim must be dismissed because the evidentiary record does not support the
conclusion that the requisite onset of her pain occurred within 48 hours following
administration of the flu vaccine. This leaves a possibly-meritorious causation-in-fact
claim to be adjudicated.

  I.   Relevant Procedural History

        After the materials filed in connection with the Petition were deemed acceptable
for case activation, the matter was assigned to the SPU in May 2020. On June 3, 2021,
after completing formal medical review, Respondent filed his Rule 4(c) Report contending
that Petitioner had not established that (a) Petitioner’s flu vaccine was administered to
her left arm, and (b) onset of her shoulder pain began within 48 hours of vaccination, as
required for a Table SIRVA. ECF No. 20. Rather, Respondent argued that Petitioner “has
repeatedly, and consistently, reported that her symptoms began approximately two weeks
after vaccination.” Id. at 5.

      After a review of the records, I determined that a hearing to resolve the disputed
issues would be unnecessary. See ECF No. 22. I then directed the parties to file briefs
and any other evidence in support of their positions. Id. Petitioner filed a Motion for Fact
Ruling (“Mot.”) on October 29, 2021, to which Respondent filed a response (“Op.”) on
November 12, 2021. ECF No. 24, 25. Petitioner filed a reply (“Repl.”) on December 1,
2021. ECF No. 26. This matter is now ripe for adjudication.

 II.   Issues

       The following issues are contested: (1) whether Petitioner received the vaccination
alleged as causal in her left arm; and (2) whether Petitioner’s first symptom or
manifestation of onset after vaccine administration (specifically pain) occurred within 48
hours as set forth in the Vaccine Injury Table and Qualifications and Aids to Interpretation
(“QAI”) for a Table SIRVA. 42 C.F.R. § 100.3(c)(10)(ii)-(iii) (required onset for pain listed
in the QAI; pain and reduced range of motion limited to the shoulder in which the
intramuscular vaccine was administered).

III.   Authority

       Pursuant to Vaccine Act Section 13(a)(1)(A), a petitioner must prove, by a
preponderance of the evidence, the matters required in the petition by Section 11(c)(1).
A special master must consider, but is not bound by, any diagnosis, conclusion, judgment,
test result, report, or summary concerning the nature, causation, and aggravation of

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petitioner’s injury or illness that is contained in a medical record. Section 13(b)(1).
“Medical records, in general, warrant consideration as trustworthy evidence. The records
contain information supplied to or by health professionals to facilitate diagnosis and
treatment of medical conditions. With proper treatment hanging in the balance, accuracy
has an extra premium. These records are also generally contemporaneous to the medical
events.” Cucuras v. Sec’y of Health & Human Servs., 993 F.2d 1525, 1528 (Fed. Cir.
1993).

       Accordingly, where medical records are clear, consistent, and complete, they
should be afforded substantial weight. Lowrie v. Sec’y of Health & Human Servs., No. 03-
1585V, 2005 WL 6117475, at *20 (Fed. Cl. Spec. Mstr. Dec. 12, 2005). However, this rule
does not always apply. In Lowrie, the special master wrote that “written records which
are, themselves, inconsistent, should be accorded less deference than those which are
internally consistent.” Lowrie, at *19. And the Federal Circuit recently “reject[ed] as
incorrect the presumption that medical records are accurate and complete as to all the
patient’s physical conditions.” Kirby v. Sec’y of Health & Human Servs., 997 F.3d 1378,
1383 (Fed. Cir. 2021).

        The United States Court of Federal Claims has recognized that “medical records
may be incomplete or inaccurate.” Camery v. Sec’y of Health & Human Servs., 42 Fed.
Cl. 381, 391 (1998). The Court later outlined four possible explanations for
inconsistencies between contemporaneously created medical records and later
testimony: (1) a person’s failure to recount to the medical professional everything that
happened during the relevant time period; (2) the medical professional’s failure to
document everything reported to her or him; (3) a person’s faulty recollection of the events
when presenting testimony; or (4) a person’s purposeful recounting of symptoms that did
not exist. La Londe v. Sec’y of Health & Human Servs., 110 Fed. Cl. 184, 203-04 (2013),
aff’d, 746 F.3d 1335 (Fed. Cir. 2014).

       The Court has also said that medical records may be outweighed by testimony that
is given later in time that is “consistent, clear, cogent, and compelling.” Camery, 42 Fed.
Cl. at 391 (citing Blutstein v. Sec’y of Health & Human Servs., No. 90-2808, 1998 WL
408611, at *5 (Fed. Cl. Spec. Mstr. June 30, 1998). The credibility of the individual offering
such testimony must also be determined. Andreu v. Sec’y of Health & Human Servs., 569
F.3d 1367, 1379 (Fed. Cir. 2009); Bradley v. Sec’y of Health & Human Servs., 991 F.2d
1570, 1575 (Fed. Cir. 1993).

        A special master may find that the first symptom or manifestation of onset of an
injury occurred “within the time period described in the Vaccine Injury Table even though
the occurrence of such symptom or manifestation was not recorded or was incorrectly


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recorded as having occurred outside such period.” Section 13(b)(2). “Such a finding may
be made only upon demonstration by a preponderance of the evidence that the onset [of
the injury] ... did in fact occur within the time period described in the Vaccine Injury Table.”
Id.

       The special master is obligated to fully consider and compare the medical records,
testimony, and all other “relevant and reliable evidence contained in the record.” La
Londe, 110 Fed. Cl. at 204 (citing § 12(d)(3); Vaccine Rule 8); see also Burns v. Sec’y of
Health & Human Servs., 3 F.3d 415, 417 (Fed. Cir. 1993) (holding that it is within the
special master's discretion to determine whether to afford greater weight to medical
records or to other evidence, such as oral testimony surrounding the events in question
that was given at a later date, provided that such determination is rational).

IV.    Findings of Fact

           A. Site of Vaccination

       Based on a review of the entire record, including all medical records and affidavits,
the arguments in Respondent’s Rule 4(c) Report, the arguments in Petitioner’s Motion for
Fact Ruling, and the arguments in the response thereto, I find that Petitioner’s October
18, 2018 flu vaccine was more likely than not administered in her left arm, as she
contends. The following points are particularly relevant to that finding:

           •   Petitioner’s pre-vaccination medical records reveal a history of asthma and
               allergies, but no injuries, inflammation, or dysfunction in either shoulder or
               arm. Ex. 3 at 4.

           •   Petitioner received the flu vaccine at the offices of her union, Actor’s Equity
               Association, in New York, New York, on October 18, 2018. Ex.1 at 1. The
               vaccine record states that “there is no documentation available to confirm
               to which arm the vaccination was given.” Id.

           •   Petitioner avers that she was asked which arm was her dominant arm prior
               to the vaccination. Ex. 8 at ¶3; Ex. 12 at ¶1. Petitioner states that she
               “answered that she was right-handed, and her left side was prepared for the
               injection.” Ex. 8 at ¶3. She states that she then received the vaccination in
               her left arm. Ex. 12 at ¶1.

           •   Petitioner’s husband, Andrew George Foote, states that he spoke to Ms.
               Hick by phone on the day of her vaccination and that she “explained that


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               when the time came for her injection, she began to remove her cardigan
               sweater so as to better expose her left (non-dominate) [sic] shoulder.” Ex.
               13 at ¶5. He further recalled that Petitioner told him that “she was very
               relieved that the injection was in her left arm since she was on her way to
               the office and would probably be called upon to do some of the minor
               physical chores that she performs when she works at her part time office
               job.” Id.

           •   Petitioner’s co-worker, Lauren Dopkin, states that Petitioner returned to the
               office where they worked together on October 18, 2018 after her flu shot.
               Ex. 14 at ¶2. She recalled that Petitioner “was complaining of the soreness
               in her left shoulder from the shot, and how it caused her left arm to ache.”
               Id.

           •   In the filed records after October 18, 2018, Petitioner consistently reported
               pain in her left shoulder to her chiropractor, to three orthopedists, and to her
               physical therapist. See Ex. 1 at 1-14; Ex. 4 at 4-13; Ex. 5 at 4-10; Ex. 6 at
               4-7; Ex. 11 at 8. Petitioner received testing and treatment to her left
               shoulder, including xrays and an MRI, cortisone injections, and physical
               therapy. Id.

           •   The records do not contain any complaints of nor treatment for right
               shoulder pain.

        The entirety of the record, as reviewed above, preponderantly supports the
conclusion that Petitioner more likely than not received the October 18, 2018 flu vaccine
in her left arm.

        Ms. Hick’s vaccine administration record is admittedly problematic, since it is silent
as to the situs of administration. Ex. 1 at 1. Petitioner’s affidavit and supplemental affidavit,
however, provide additional details about the circumstances of administration that provide
support for her claim that she received the vaccination in her left arm. As Petitioner has
explained, she was asked to identify her dominant arm prior to vaccination. Ex. 8 at ¶3.
Because her dominant arm is her right, Petitioner received the vaccine in her left arm. Ex.
12 at ¶1. Petitioner’s husband recalled that Ms. Hick explained to him on the day of her
vaccination that she received the vaccine in her left (non-dominant) arm and experienced
immediate pain. Ex. 13 at ¶5. Petitioner’s co-worker, Lauren Dopkin, worked with her on
the afternoon of her vaccination and recalled Petitioner complaining of soreness in her
left arm. Ex. 14 at ¶2.



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        Because the medical record is silent on the issue of site of vaccination, this is not
a case where a testimonial assertion on the disputed fact is contradicted. While the record
does not prove, by itself, that Petitioner received the vaccine in her left arm, it does not
negate that conclusion either. And it is well-settled that even though “oral testimony in
conflict with contemporaneous documentary evidence deserves little weight,” that
testimony can be credited where it provides detail that the record omits. Kirby, 997 F.3d
at 1383 (emphasis added). Here, Petitioner’s statements about the circumstances of
vaccination do not conflict with the vaccine administration record, but provide detail that
was not recorded at the time of the vaccine or for which documentary evidence cannot
be obtained.

       There are other reasons to conclude as I do on this question. Petitioner’s medical
records show that she had no history of any pain, inflammation, or dysfunction in either
shoulder or arm. She received treatment only to her left shoulder, including physical
examinations, xrays, cortisone injection, and physical therapy. Ex. 2, 4-6. There is no
indication in the record of any other possible cause of Petitioner’s left shoulder pain.

       Overall, Petitioner’s own assertions are sufficiently corroborated by the medical
record to accept her contention of vaccine situs. At worst, this is a “close-call,” but in such
cases Program case law counsels deciding the matter in a petitioner’s favor. Roberts v.
Sec’y of Health & Human Servs., No. 09-427V, 2013 WL 5314698, at *10 (Fed. Cl. Aug.
29, 2013). Accordingly, I find it more likely than not that the vaccine alleged as causal in
this case was administered to Petitioner in the left shoulder/arm on October 18, 2018.

          B. Onset

       I have fully reviewed the evidence pertaining to the onset question, including all
medical records, Respondent’s Rule 4(c) Report, and the parties’ briefs. I find the
following facts most relevant:

          •   Petitioner’s pre-vaccination medical records reveal a history of asthma and
              allergies, but no injuries, inflammation, or dysfunction in either shoulder or
              arm. Ex. 3 at 4.

          •   Petitioner received a flu vaccine at the offices of her union, Actor’s Equity
              Association, in New York, New York, on October 18, 2018. Ex.1 at 1. (As
              noted above, I have ruled that Petitioner’s flu vaccine was administered to
              her left arm).




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 •   Petitioner recalls that the vaccination “was very painful” and “as [she] went
     through the day, [she] could barely use [her] arm.” Ex. 8 at ¶3-4. She stated
     that “the initial injection hurt so much and felt like it was very high up onto
     my shoulder, not in my deltoid.” Ex. 12 at ¶3. She described “lasting pain,
     which started immediately after being injected. [She] was experiencing pain
     and stiffness, and [she] could no longer lift, or hold things with [her] left side.”
     Id. at ¶4. She described sleeping the night of her vaccination as
     “impossible.” Id.

 •   Petitioner’s husband, Andrew George Foote, avers that Petitioner called
     him after her flu vaccination and “explained that the injection site was much
     more ‘tender’ and ‘painful’ than in previously years.” Ex. 13 at ¶2.

 •   Petitioner’s co-worker, Lauren Dopkin, recalls that Petitioner returned to the
     office where they both worked after her vaccination. Ex. 14 at ¶2. She stated
     that Petitioner complained of “soreness in her left shoulder from her shot”
     and “it caused her left arm to ache.” Id. She noted that “things like lifting
     boxes overhead, reaching out to retrieve something, and lifting, all seemed
     to be painful and difficult.” Id.

 •   On November 8, 2018, 21 days after her vaccination, Petitioner visited her
     chiropractor, Dr. Guy Guerriero, complaining of left shoulder pain. Ex. 11 at
     8. But Dr. Guerriero’s records do not memorialize a date of onset, nor any
     cause attributed by Petitioner.

 •   On November 13, 2018, 26 days after her vaccination, Petitioner presented
     to orthopedist, Dr. Mohnish Ramani, complaining of left shoulder pain
     present for “1 ½ weeks.” Ex. 6 at 4. Dr. Ramani noted “Onset date:
     11/3/2018” and that Petitioner “indicates that she possibly unknowingly
     stressed the left arm.” Id. On the “New Patient Medical History Form” filled
     out by Petitioner on the day of her appointment, Ms. Hicks noted the onset
     date of her symptoms as 11/3/2018. Id. at 7.

 •   On November 21, 2018, 34 days after her vaccination, Petitioner presented
     to a second orthopedist, Dr. Dennis Nutini, for her left shoulder pain. Ex. 5
     at 9. Dr. Nutini recorded that Petitioner “reports that three weeks ago, she
     started feeling pain in the left shoulder three days after a shoulder workout.”
     Id.




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          •   Upon starting physical therapy on December 7, 2018, Petitioner reported
              “that around the date of 11/3/2018 she started to notice some L shoulder
              discomfort w/o any MOI.” Ex. 2 at 4. The physical therapist, Dr. Steven
              Ferro, recorded that Petitioner “notes that the pain started after reaching
              across her body and has continues [sic] to become more pronounced.” Id.

          •   At her physical therapy treatment on December 11, 2018, Dr. Ferro noted
              that Petitioner “did get a flu shot a few weeks prior to her symptoms
              beginning and is curious if this could have contributed to her current
              complaint.” Ex. 2 at 9.

          •   On March 26, 2019, Petitioner presented to a third orthopedist, Dr. Johnny
              Arnouk, complaining of “a dull ache to her left shoulder for the past 5
              months. She states that her symptoms started shortly after receiving a flu
              shot.” Ex. 4 at 11.

       I acknowledge that the standard applied to resolving onset for an alleged Table
SIRVA is liberal, and will often permit a determination in a petitioner’s favor, especially in
the absence of fairly contemporaneous and direct statements within the petitioner’s
medical records to the contrary. However, not every case can be so preponderantly
established. Ultimately, the resolution of such fact issues involves weighing different items
of evidence against the overall record.

        Here, Petitioner’s onset claims are offset against a record created very near-in-
time to vaccination, in which Petitioner consistently reported the onset of her left shoulder
pain as occurring approximately two weeks after her vaccination. Although Petitioner, her
husband, and her co-worker have submitted affidavits supporting immediate onset of
shoulder pain, the first three post-vaccination records (from the November 13, 2018 visit
with Dr. Ramani; the November 21, 2018 visit with Dr. Nutini; and the December 7, 2018
physical therapy evaluation) specifically refute such contentions, placing onset instead
during the period 13-16 days post vaccination. Ex. 2 at 4; Ex. 5 at 9; Ex. 6 at 4, Ex. 8, 12-
14. Petitioner first linked her left shoulder pain to her flu shot at the time of her second
physical therapy appointment on December 11, 2018 – but even then she stated that her
pain began a few weeks after the vaccination. Ex. 2 at 9. These records, all created within
the first two months after vaccination, consistently place onset of Petitioner’s shoulder
pain outside of the 48 hours required to establish a Table SIRVA.

       Petitioner argues that the three records noted above are “inconsistent and
deserving of little evidentiary weight” because they are “internally inconsistent,” in that
they each provide different onset dates. Repl. at 4, 8. Instead, she maintains I should give


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greater weight to the affidavits submitted by Petitioner, her husband, and Lauren Dopkin,
a co-worker, all of which place onset on the day of vaccination, plus the record of her visit
to Dr. Anouk on March 26, 2019 (just over five months after her vaccination), where she
mentioned that her shoulder pain began “shortly after her flu shot.” Repl. at 8; Ex. 4 at 11.
However, in so maintaining Petitioner seems to contend that medical records must be
identical to be deemed consistent. In fact, the three records all place onset of Petitioner’s
pain between October 31, 2018 and November 3, 2018. 3 Ex. Ex. 2 at 4; Ex. 5 at 9; Ex. 6
at 4. Although not identical, the three records clearly place onset of Petitioner’s pain
significantly after the 48-hour period after her vaccination which ended after October 20,
2018. Ex. 1 at 1. They are sufficiently consistent to be given greater weight than after-
the-fact witness testimony, 4 even if they themselves do not establish a specific date of
onset.

       Further, the affidavit testimony provided directly contradicts the facts recorded in
the contemporaneous medical records. Petitioner stated that she “had lasting pain, which
started immediately after being injected” and noted that “sleeping that first night . . . was
impossible.” Ex. 12 at ¶4. This statement cannot be reconciled with the contemporaneous
records. On her intake form for her November 13, 2018 appointment with Dr. Ramani,
Petitioner herself wrote that her symptoms began “1 ½ weeks” prior or on “11/3/2018.”
Ex. 6 at 4. At her November 21, 2021 appointment with Dr. Nutini, Petitioner reported that
her pain began three weeks prior after a shoulder workout. Ex. 5 at 9.

       There are situations in which compelling testimony may be more persuasive than
written records, such as where records are deemed to be incomplete or inaccurate.
Campbell v. Sec'y of Health & Human Servs., 69 Fed. Cl. 775, 779 (2006) (“like any norm
based upon common sense and experience, this rule should not be treated as an absolute
and must yield where the factual predicates for its application are weak or lacking”);
Lowrie v. Sec'y of Health & Human Servs., No. 03-1585V, 2005 WL 6117475, at *19 (Fed.
Cl. Spec. Mstr. Dec. 12, 2005) (“[w]ritten records which are, themselves, inconsistent,


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  The record of November 13, 2018, notes both “1 ½ weeks” prior to the appointment, which would have
been 10 or 11 days prior (November 2 or 3), and November 3, 2018 specifically. Ex. 6 at 4. The record of
November 21, 2018 notes “three weeks,” which would have been around October 31, 2018. Ex. 5 at 9.
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  While such after-the-fact statements can be deemed persuasive (especially to the extent they do not
contradict prior record statements), they inherently are somewhat less probative than contemporaneous
evidence. Sanchez v. Sec'y of Health & Human Servs., No. 11-685 V, 2013 WL 1880825, at *2 (Fed. Cl.
Spec. Mstr. Apr. 10, 2013), vacated on other grounds, Sanchez by & through Sanchez v. Sec'y of Health &
Human Servs., No. 2019-1753, 2020 WL 1685554 (Fed. Cir. Apr. 7, 2020) (presumption that
contemporaneous records are usually more probative than after-the-fact witness statements “is based on
the linked propositions that (i) sick people visit medical professionals; (ii) sick people honestly report their
health problems to those professionals; and (iii) medical professionals record what they are told or observe
when examining their patients in as accurate a manner as possible, so that they are aware of enough
relevant facts to make appropriate treatment decisions”).

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should be accorded less deference than those which are internally consistent”) (quoting
Murphy v. Sec'y of Health & Human Servs., 23 Cl. Ct. 726, 733 (1991), aff'd per curiam,
968 F.2d 1226 (Fed. Cir. 1992)). But not every SIRVA claim can be so preponderantly
established, and certainly not where the sequential and contemporaneous record does
not lend support to the Petitioner’s allegations.

       Petitioner argues that she has provided “a credible explanation as to why she was
unable to list the date of onset with specificity during her early treatment visits – she “had
no idea that her October 18, 2018, flu vaccine could be the root of her lingering pain.”
Repl. at 5. She argues that she “stopped using her left arm due to the pain” which helped
for a while, but then the pain returned, and that Petitioner reported the date the pain
returned as the onset date to her doctors, rather than the date of her vaccination. Id.
Petitioner also notes that she believed her pain would go away with time (and that “people
kept telling [her] that flu shots could hurt for a while),” as many petitioners believe. Ex. 12
at ¶5. However, as Respondent notes, “not knowing the cause of one’s pain, or believing
that one’s pain will eventually go away on its own, does not translate into a lack of
awareness of when that pain started.” Op. at 5. Further, even when Petitioner first linked
her pain to her flu shot, she continued to report that the pain began “a few weeks” after
her vaccination. Ex. 2 at 9.

        Accordingly, I find Petitioner has not preponderantly established that onset of her
pain occurred within 48 hours of vaccination – meaning that she cannot proceed in this
action with a Table SIRVA claim. Petitioner has, however, a potential causation-in-fact
injury claim (since the record does at least support the conclusion that within two weeks
of vaccination she felt shoulder pain). I urge the parties to make one final brief attempt at
settlement before transferring the case.

 V.    Conclusion

        Petitioner’s Table SIRVA claim is dismissed, for the reasons set forth above.
Petitioner shall file a joint status report addressing her conveyance of a revised
settlement demand for an off-Table claim, and the parties’ efforts towards informal
resolution, by no later than Friday, July 1, 2022. If the parties do not report progress
in their efforts, the matter will likely be transferred out of the SPU.

       IT IS SO ORDERED.
                                                          s/Brian H. Corcoran
                                                          Brian H. Corcoran
                                                          Chief Special Master




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